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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03010-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




State of Colorado, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03715-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.


                  DEFENDANT’S PROPOSED CONCLUSIONS OF LAW
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       1.      Each claim for relief asserted by Plaintiffs alleges unlawful monopoly

maintenance in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. DOJ Pls.’ Am. Compl.

¶¶ 173-93; Colo. Pls.’ Compl. ¶¶ 212-32. To prevail on a Section 2 claim, Plaintiffs must prove

“(1) the possession of monopoly power in the relevant market and (2) the willful acquisition or

maintenance of that power as distinguished from growth or development as a consequence of a

superior product, business acumen, or historic accident.” United States v. Microsoft Corp., 253

F.3d 34, 50 (D.C. Cir. 2001) (en banc) (per curiam).

I.     PLAINTIFFS HAVE NOT PROVEN THE EXISTENCE OF THEIR
       ALLEGED RELEVANT ANTITRUST PRODUCT MARKETS.

       2.      Plaintiffs bear the burden of defining a relevant antitrust market. Gross v. Wright,

185 F. Supp. 3d 39, 50 (D.D.C. 2016); see Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285

(2018) (“[W]ithout a definition of the market there is no way to measure the defendant’s ability

to lessen or destroy competition.” (brackets omitted)).

       3.      “[T]he relevant market is defined as ‘the area of effective competition,’” which is

“[t]ypically … the ‘arena within which significant substitution in consumption or production

occurs.’” Am. Express, 138 S. Ct. at 2285. A product need not be “fungible to be considered in

the relevant market,” United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 394 (1956),

which should include “all products ‘roughly equivalent to another for the use to which they are

put,’” FTC v. Facebook, Inc., 560 F. Supp. 3d 1, 14 (D.D.C. 2021) (brackets omitted).

       4.      Because Plaintiffs bear the burden of defining a relevant market, an indispensable

element of their claims, Google need not prove an alternative definition. FTC v. Tenet Health

Care Corp., 186 F.3d 1045, 1053 (8th Cir. 1999); FTC v. RAG-Stiftung, 436 F. Supp. 3d 278,

292 (D.D.C. 2020) (“agree[ing] with Defendants that the FTC has not met its burden of

establishing its prima facie case because it has not identified a relevant market” where


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defendants did not offer a definition but argued that the FTC’s market was “overbroad and

inconsistent with the commercial realities of the industry”).

       5.      Judgment should be entered for Google on any claim for which Plaintiffs did not

prove the alleged relevant market associated with that claim. Queen City Pizza, Inc. v. Domino’s

Pizza, Inc., 124 F.3d 430, 441 (3d Cir. 1997); see Tr. 4602:15-22 (Whinston (DOJ Expert)) (“Q.

And why is defining a relevant market important in this case? A. … “[I]t’s going to … give the

Court information about whether Google can harm competition…. And if the answer is no, then

we can all go home, we’re done. But if the answer is yes, there’s more to look at.”).

       A.      General Search Services Is Not a Relevant Antitrust Market.

       6.      Plaintiffs define the alleged market for general search services in terms of how

consumers search for information online; accordingly, the validity of that market definition must

be assessed based on the commercial realities of how consumers use general search engines and

whether they view other sources of information not in the asserted relevant market (such as

Amazon, Expedia, or TikTok) as reasonably interchangeable. Eastman Kodak Co. v. Image Tech

Servs., Inc., 504 U.S. 451, 482 (1992); Microsoft, 253 F.3d at 81 (explaining that “defining a

market for a monopoly maintenance claim” involves providing “a detailed description of the

purpose of [the product]—what functions may be included and what are not—and an

examination of the substitutes that are part of the market and those that are not”).

       7.      By excluding from the asserted relevant user-side market all services that

consumers use to search for information online other than general search engines, Plaintiffs fail

to account for “all products ‘reasonably interchangeable by consumers for the same purposes.’”

Microsoft, 253 F.3d at 52. Plaintiffs accordingly have not shown that these reasonable substitutes

fail to prevent a hypothetical monopolist of general search services from exercising substantial

market power, which makes the alleged market underinclusive.

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               1.      The contention that general search services are a “one-stop shop” is
                       not a valid basis for defining a relevant market in this case.

       8.      Plaintiffs’ contention that general search engines offer a “one-stop shop” by

providing a wider range of information in response to a wider range of user queries is an

inadequate basis on which to conclude that there is a relevant market for general search services.

Emigra Grp. LLC v. Fragomen, Del Rey, Bernsen & Lowey, LLP, 612 F. Supp. 2d 330, 355

(S.D.N.Y. 2009) (“The existence of one-stop shopping, and a group of customers with a

preference or even demand for it, is insufficient to define a relevant market.”).

       9.      The evidence shows that users generally decide how to search for information on

a query-by-query or category-by-category basis, which entails a recurring choice between a

general search engine and a website or mobile application that does not offer general search

services to satisfy a particular informational need. FOF ¶¶ 637-51, 655-66, 680-94, 920-40, 945-

67, 971-87. Accordingly, the relevant market cannot be properly confined to general search

services on the ground that their ability to respond to a wide array of queries is itself an “object

of demand.” Green Country Food Market, Inc. v. Bottling Grp., LLC, 371 F.3d 1275, 1284 (10th

Cir. 2004) (“A cluster market exists only when the ‘cluster’ is itself an object of consumer

demand.”); see Thurman Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369, 1374, 1377 (9th

Cir. 1989) (rejecting alleged market for “the complete package of commodities and services

offered by home center stores” based on contention that this “unique combination of goods and

services allows do-it-yourself home remodelers and home repairers to obtain ‘everything they

need’ at one location” and noting that “for any given product sold at a home center, a

functionally equivalent or identical product is available for purchase at several more specialized

stores”); Jonathan B. Baker, Market Definition: An Analytical Overview, 74 Antitrust L.J. 129,

158-59 (2007) (explaining that if “sellers produce both bundled and unbundled products, for


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example, if software firms sell suites of products … and also sell the individual component

programs on a standalone basis,” then “a competitive effects analysis limited to a suites market

could mislead by ignoring the competitive constraint imposed by sellers of individual

components, particularly if some sellers offer only some components and not suites”).

       10.     Because Plaintiffs define the general search services market in this case from the

perspective of users rather than intermediaries, the services that users regard as reasonable

substitutes to Google Search are what matter. Compare Tr. 8407:15-8410:24, 8965:24-8966:18

(Israel (Google Expert)) with FTC v. Sysco Corp., 113 F. Supp. 3d 1, 38 (D.D.C. 2015) (finding

that “distributors must offer a particular kind of ‘product’” consisting of “a cluster of goods and

services … to compete for national customers,” such that “the customer’s requirements operate

to define the product offering itself”).

       11.     The observation that competitors outside the alleged market each address a

narrower range of queries compared to Google does not indicate whether they compete with

Google to respond to a significant number of monetizable user queries, particularly given the

ease and ubiquity with which consumers use numerous websites and mobile applications. It also

improperly ignores evidence that their focus on depth rather than breadth often makes them more

effective substitutes to Google for queries within the verticals those providers serve. FOF ¶¶ 667-

79, 930-67, 983-87; see Green Country Food Market, 371 F.3d at 1284 (rejecting Plaintiffs’

attempt to define a market for the “full line of beverage products” distributed by Defendant,

including Pepsi and Dr. Pepper, where Plaintiffs “have not offered evidence, for example, that

Plaintiffs’ customers enter the store with the intent to purchase both Pepsi and Dr. Pepper

together and the absence of one of those products would cause the customer to go to another

store to purchase both”); PepsiCo, Inc. v. Coca-Cola Co., 114 F. Supp. 2d 243, 250 (S.D.N.Y.



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2000) (“Despite one-stop shopping’s advantageous features, the evidence does not show that the

preference for independent foodservice distributors is so strong so as to eliminate delivery

through other means as an acceptable alternative.”); Emigra Grp., 612 F. Supp. 2d at 354

(explaining that “[i]f … buyers could and would respond to a price increase by a full line seller

by shifting all or part of their business to partial line or single product sellers … then a cluster

market would not be appropriate” (emphasis added)).

       12.     Clustering categories of queries submitted to general search engines into a single

market also cannot be justified on the alternative ground of “analytical convenience” where, as

here, competition differs within each query category. FOF ¶¶ 634-51, 655-66, 680-94; see

Premier Comp Solutions LLC v. UPMC, 377 F. Supp. 3d 506, 528-29 (W.D. Pa. 2019).

               2.      Other characteristics of general search engines do not provide a valid
                       basis for defining a relevant market.

       13.     That general search engines offer different features or characteristics than their

competitors is also an inadequate basis on which to conclude that there is a relevant market for

general search services. Allen-Myland, Inc. v. Int’l Bus. Mach. Corp., 33 F.3d 194, 206 (3d Cir.

1994); Mathias v. Daily News, L.P., 152 F. Supp. 2d 465, 482 (S.D.N.Y. 2001) (“Reasonable

interchangeability fully acknowledges differences in product characteristics, reflecting

commercial realities.”). For example, an observation that Google offers features not available on

Amazon (such as links to an index of crawled webpages) while Amazon offers features not

available on Google (such as the ability to complete the purchase of many products) is indicative

of the ways in which they compete with each other to respond to a significant number of queries,

and not evidence that supports the exclusion of Amazon from a relevant market. FOF ¶¶ 632-51,

680-94, 941-44, 955-65, 983-87; see Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An

Analysis of Antitrust Principles and Their Application at ¶ 562 (5th ed. 2022) (noting that


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“consumer perceptions determine the relevance of physical differences” and “consumers may

regard products as interchangeable notwithstanding physical differences”); Global Discount

Travel Servs., LLC v. Trans World Airlines, Inc., 960 F. Supp. 701, 705 (S.D.N.Y. 1997).

       14.      The “touchstone” of market definition is not the full set of features available

through each product, but rather “demand substitution,” i.e., “customers’ ability and willingness

to substitute away from one product to another in response to a price increase or a corresponding

non-price change such as reduction in product quality or service.” FTC v. Wilh. Wilhelmsen

Holding ASA, 341 F. Supp. 3d 27, 45 (D.D.C. 2018); see S.E. Mo. Hosp. v. C.R. Bard, Inc., 642

F.3d 608, 613 (8th Cir. 2011).

       15.     Plaintiffs have not offered sufficient evidence of how users actually engage with

alternatives—including when and how they use other websites and apps to obtain information in

response to queries—to justify excluding those reasonably interchangeable alternatives from a

properly defined user-side market. FOF ¶¶ 930-67, 971-87; see Microsoft, 253 F.3d at 52, 81;

United States v. Sungard Data Sys., Inc., 172 F. Supp. 2d 172, 182-83 (D.D.C. 2001)

(concluding “the government has not met its burden of establishing that the relevant product

market is limited” in the manner alleged given “equivocal evidence” of how consumers used

products within the alleged market and their potential substitutes).

               3.      Plaintiffs’ invocation of Cellophane does not excuse a lack of evidence
                       demonstrating that general search services is a relevant market.

       16.     Plaintiffs’ invocation of the “Cellophane fallacy” neither explains the ample

evidence of non-general search engine alternatives that users enjoy nor justifies Plaintiffs’ failure

to examine how consumers use those potential substitutes. Plaintiffs have not demonstrated that

consumers turn to Amazon, Yelp, and other alternatives because Google’s conduct made rival

general search engines poor substitutes to Google for users. Nor have Plaintiffs proven that


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Google’s competition with specialized vertical search providers (SVPs) is explained by Google

degrading its own search quality. Rather, the evidence shows robust competition between Google

and these non-general search engine alternatives to meet users’ information needs, and that this

competition has led Google to improve its search quality. FOF ¶¶ 667-760, 946-67, 976-81.

       17.     Plaintiffs accordingly have failed to define a relevant market for general search

services. And they have not asserted that Google possesses monopoly power in any other

putative user-side market, such as one consisting of a subset of queries.

       B.      Search Advertising, General Search Advertising, and General Search Text
               Advertising Are Not Relevant Antitrust Markets.

       18.     Plaintiffs have defined their alleged advertising markets in terms of how

advertisers access the attention of potential customers; accordingly, the validity of the ads-side

markets must be assessed based on the commercial realities of how advertisers use the ad types

within each alleged market and whether they view other forms of advertising (such as social

media ads on Instagram or product page ads on Amazon) as reasonably interchangeable.

Eastman Kodak, 504 U.S. at 482; Microsoft, 253 F.3d at 81.

       19.     Each of Plaintiffs’ alleged ads-side markets is too narrow because Plaintiffs

improperly focus on distinctions between the format of ad types instead of advertisers’

substitution patterns, thereby failing to include “all products ‘reasonably interchangeable by

[advertisers] for the same purposes.’” Microsoft, 253 F.3d at 52; see Hicks v. PGA Tour, Inc.,

897 F.3d 1109, 1123 (9th Cir. 2018) (“[M]any courts have rejected antitrust claims reliant on

proposed advertising markets limited to a single form of advertising.”); Kinderstart.com LLC v.

Google, Inc., 2007 WL 831806, at *6 (N.D. Cal. Mar. 16, 2007) (concluding “there is no logical

basis for distinguishing the Search Ad Market from the larger market for Internet advertising”).




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               1.      Evidence of advertiser substitution demonstrates that Plaintiffs have
                       not defined valid advertising-side relevant markets.

       20.     Digital advertisers generally seek to maximize their return on investment, and the

evidence demonstrates that in doing so they routinely substitute between search ads and other

forms of digital advertising that Plaintiffs place outside of their asserted markets, such that

Plaintiffs’ markets impermissibly exclude reasonable substitutes. FOF ¶¶ 999-1015, 1018-35,

1045-63, 1075-78; see Areeda & Hovenkamp at ¶ 562 (“[A]ctual shifts between two products in

response to—or even without—changes in their relative prices indicate a single market.”); Tunis

Bros. Co. v. Ford Motor Co., 952 F.2d 715, 725-26 (3d Cir. 1991).

       21.     Numerous companies offer popular products designed to reallocate advertisers’

budgets from search ads to other ad types outside of the alleged markets based on the relative

performance of each format, which further constrains a hypothetical monopolist within any of

the alleged advertising markets from raising its quality-adjusted price. FOF ¶¶ 1009-15; see

Microsoft, 253 F.3d at 52; Queen City Pizza, 124 F.3d at 437.

       22.     In the face of evidence of advertisers substituting into and out of the asserted

relevant markets, Plaintiffs did not perform an empirical analysis to demonstrate that any of their

alleged markets satisfy the hypothetical monopolist test or an empirical analysis of whether any

particular change to Google’s search ads auction resulted in substitution. FOF ¶¶ 1045-46, 1065-

66; see Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 975 (9th Cir. 2023); BanxCorp v.

Bankrate, Inc., 847 F. App’x 116, 121 (3d Cir. 2021).

       23.     Plaintiffs cannot meet their burden by asserting that some advertisers are more

reluctant to substitute to alternatives than others, or that a particular competitor (e.g., Amazon or

Instagram) may not prove attractive to all businesses that currently purchase ads in the alleged

markets. “When determining the relevant market, the question is whether a hypothetical


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monopolist could profitably raise price,” such that “it is possible for only a few customers who

switch to alternatives to make the price increase unprofitable, thereby protecting a larger number

of customers who would have acquiesced in higher [product] prices.” United States v. Engelhard

Corp., 126 F.3d 1302, 1306 (11th Cir. 1997); see Telecor Commc’ns v. Sw. Bell Tel. Co., 305

F.3d 1124, 1132 (10th Cir. 2002); Sungard Data Sys., 172 F. Supp. 2d at 191-92 (noting “the

government has submitted more than 50 statements from … customers that indicate that they

could not switch in response to a SSNIP” but concluding “[t]he government has failed … to

show whether this captive group is substantial enough that a hypothetical monopolist would find

it profitable to impose such an increase in price” because “the record does not indicate whether

the customers cited by plaintiff are representative of the entire universe of … clients”).

       24.     A contention that advertisers view search ads as important to achieving their

objectives or have not shifted more of their budgets away from search ads does not support the

existence of a relevant market. Areeda & Hovenkamp at ¶ 562 (explaining that “customers may

stick with product A when its price is competitive and yet respond to a significant increase in its

price by shifting to product B” so “the two products may belong in the same market even though

substantial shifts between them have not been observed”); Thurman Indus., 875 F.2d at 1374

(defining the relevant market by “the group or groups of sellers or producers who have ‘actual or

potential ability to deprive each other of significant levels of business’” (emphasis added)).

       25.     And an observation that Google touts the benefits of search ads or distinguishes

them from rival ad types does not support Plaintiffs’ artificially narrow market definitions, but

rather offers additional evidence of the ways in which Google competes with sellers of other ad

types for a share of the same advertisers’ budgets. Berlyn Inc. v. The Gazette Newspapers, Inc.,

73 F. App’x 576, 583 (4th Cir. 2003) (rejecting plaintiff’s argument “that TV and radio are not in



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the same product market as print media” and noting that a newspaper “goes to great lengths to

show how much better print media is than radio or TV” because it “sees these other media

outlets as key competitors”); Areeda & Hovenkamp at ¶ 530 (“Sellers bidding against each other

to supply a given customer are usually in the same market….”).

                2.     Plaintiffs’ market definitions are fatally flawed because advertisers’
                       next best option generally lies outside the alleged markets.

       26.     Because advertisers generally seek to direct their advertisements to the consumers

who are likely to be interested in their products, the extent to which overlapping consumers can

be targeted using different ad platforms is important in identifying reasonable substitutes, even if

the ads are of a different type. FOF ¶¶ 1041-44; see Midwest Radio Co. v. Forum Pub. Co., 942

F.2d 1294, 1297 (8th Cir. 1991) (rejecting alleged market that included only a daily newspaper,

radio, and television in a geographic area because “it should include other competitive

advertising media, such as billboards, weekly newspapers, and direct mail”); Am. Online, Inc. v.

GreatDeals.Net, 49 F. Supp. 2d 851, 858 (E.D. Va. 1999) (dismissing Section 2 claim predicated

on e-mail marketing to AOL subscribers because “[t]here are numerous substitutes for e-mail

advertising, some of which are less expensive, including use of the World Wide Web, direct

mail, billboards, television, newspapers, radio, and leaflets”).

       27.     The evidence regarding audience overlap shows that alternatives such as SVPs

and social media platforms—which Plaintiffs largely or entirely exclude from each of their

relevant markets—are closer substitutes for advertisers to Google Search than another general

search engine such as Bing. FOF ¶¶ 1042-43.

       28.     The options advertisers use to reach consumers likely to be interested in their

products are not a manifestation of the “Cellophane fallacy.” The evidence shows that

comparable audience-overlap patterns persist over time and across general search engines, and it


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demonstrates the strength of competitors such as Meta, Amazon, and TikTok that Plaintiffs place

partially or entirely outside of their alleged markets. FOF ¶ 1044; see United States v. Eastman

Kodak Co., 853 F. Supp. 1454, 1470 (W.D.N.Y. 1994) (aff’d, 63 F.3d 95 (2d Cir. 1995)).

               3.      The “marketing funnel” and the way in which search queries reveal
                       user intent do not support Plaintiffs’ flawed market definitions.

       29.     Plaintiffs’ contention that search ads occupy a particular role within the

“marketing funnel” does not support their alleged relevant markets. The evidence demonstrates

that Plaintiffs’ conception of the funnel is out of step with commercial realities and that other

types of digital ads are used for the same “lower funnel” purposes as search ads. An observation

that those platforms use different techniques or forms of information to identify pertinent

customers or ascertain their intent does not justify excluding them from a relevant product

market. FOF ¶¶ 1036-40, 1065-78; see DSM Desotech Inc. v. 3D Sys. Corp., 749 F.3d 1332,

1339 (Fed. Cir. 2014); Telecor, 305 F.3d at 1132 (“Reasonable interchangeability does not

depend upon product similarity.”).

       30.     Plaintiffs’ assertion that search ads tend to be more expensive on a cost-per-

impression basis is insufficient to confine a market to search ads, particularly in light of the

evidence that different types of ads are priced similarly when adjusted for the outcomes

advertisers seek to achieve. FOF ¶¶ 999-1010; 1126-30; Tr. 8460:5-8466:17 (Israel); see Berlyn,

73 F. App’x at 583 (concluding that radio and print advertising “are within the same product

market” notwithstanding evidence that radio is a “medium that delivers lower total audiences but

a higher concentration of specific target groups, and that the advertising costs have increased

substantially with local radio” (brackets and quotations marks omitted)); In re Super Premium

Ice Cream Distrib. Antitrust Litig., 691 F. Supp. 1262, 1268 (N.D. Cal. 1988).




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               4.      Each of Plaintiffs’ proposed advertising markets is invalid because of
                       these infirmities.

       31.     The conclusions stated above in Section I.B apply to all three of the alleged

advertising markets proffered by Plaintiffs. With respect to their alternative alleged markets (i.e.,

general search advertising and general search text advertising), Plaintiffs also have not

established that rival forms of digital advertising (such as behaviorally targeted ads on social

media sites) are any less effective at restraining an alleged monopolist’s ability to raise prices

above the competitive level than the products plaintiffs include in their markets.

       32.     The general search advertising market alleged by the Colorado Plaintiffs ignores

commercial realities by excluding additional substitutes, including search ads on SVPs such as

Amazon, Yelp, and Booking. And their contention that general search ads tend to target

consumers in the “middle stage” of the “marketing funnel” rather than the “lower stage”

contradicts the DOJ Plaintiffs’ asserted market, showing that neither alleged market finds

sufficient support in the evidence. FOF ¶¶ 1018-35, 1045-54, 1071, 1075-78; see Sungard Data

Sys., 172 F. Supp. 2d at 182-83.

       33.     The alleged general search text advertising market likewise ignores commercial

realities by excluding reasonable substitutes from the market, including product listing ads on

general search engines in addition to all search ads on SVPs. The evidence demonstrates that

advertisers who purchase both product listing ads and text ads substitute between them. And

even among advertisers who do not purchase product listing ads, SVPs and social media

platforms are strong competitors for advertising dollars that otherwise could be spent on text ads

on Google Search. FOF ¶¶ 1001-15, 1057-64; see Midwest Radio, 942 F.2d at 1297; Mathias,

152 F. Supp. 2d at 480-81 (“The product market inquiry focuses on the range of products that

actually compete in the disputed market.”).


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       34.     The observation that some advertisers purchase only text ads (and not product

listing ads), or do not advertise with certain major SVPs, does not show that general search text

advertising is a relevant market because not all potential substitutes need to be equally

compelling to all customers. Engelhard, 126 F.3d at 1306; Epic Games, Inc. v. Apple Inc., 493 F.

Supp. 3d 817, 839 (N.D. Cal. 2020) (aff’d in part, 67 F.4th 946) (explaining that “[a]ntitrust law

is not concerned with individual consumers or producers,” but rather “it is concerned with

market aggregates”); Sungard Data Sys., 172 F. Supp. 2d at 191-92.

II.    PLAINTIFFS HAVE NOT DEMONSTRATED THAT GOOGLE POSSESSES
       MONOPOLY POWER IN ANY RELEVANT MARKET.

       35.      “While merely possessing monopoly power is not itself an antitrust violation, it is

a necessary element of a monopolization charge.” Microsoft, 253 F.3d at 51 (internal citation

omitted). “A firm is a monopolist if it can profitably raise price substantially above the

competitive level” because it has “‘the ability to cut back on the market’s total output.’” Id.; see

Am. Express, 138 S. Ct. at 2288 (“Market power is the ability to raise price profitably by

restricting output.”); Rebel Oil, Inc. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995).

       36.     “The existence of monopoly power may be proven through direct evidence of

supracompetitive prices and restricted output,” or “[i]t may also be inferred from the structure

and composition of the relevant market.” Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 307

(3d Cir. 2007) (citing Microsoft, 253 F.3d at 51).

       37.     Although in some cases “monopoly power may be inferred from a firm’s

possession of a dominant share of a relevant market that is protected by entry barriers,”

Microsoft, 253 F.3d at 51, “[i]n other cases … a firm’s share of current sales does not reflect an

ability to reduce the total output in the market, and therefore it does not convey power over

price,” Ball Mem. Hosp., Inc. v. Mutual Hosp. Ins., 784 F.2d 1325, 1335 (7th Cir. 1986).


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Accordingly, even a very high share of a properly defined market is not conclusive, as “[a] court

will draw an inference of monopoly power only after full consideration of the relationship

between market share and other relevant market characteristics.” Tops Markets, Inc. v. Quality

Markets, Inc., 142 F.3d 90, 98 (2d Cir. 1998).

       38.     When asking a court to infer the existence of monopoly power, “Plaintiffs must

not only show that barriers to entry protect the properly defined … market, but that those barriers

are ‘significant.’” Microsoft, 253 F.3d at 82; see Tops Markets, 142 F.3d at 99. “‘Entry barriers’

are factors (such as certain regulatory requirements) that prevent new rivals from timely

responding to an increase in price above the competitive level,” Microsoft, 253 F.3d at 51,

particularly “‘additional long-run costs that were not incurred by incumbent firms but must be

incurred by new entrants,’ or ‘factors in the market that deter entry while permitting incumbent

firms to earn monopoly returns.’” Rebel Oil, 51 F.3d at 1439.

       A.      Google Does Not Possess Monopoly Power in the Alleged General Search
               Services Market.

               1.     A consideration of search quality and output does not provide direct
                      evidence of monopoly power, but rather confirms its absence.

       39.     Plaintiffs have not presented direct evidence of monopoly power in the alleged

general search services market. Google does not charge consumers to use its search engine, let

alone supra-competitive prices consistent with monopoly power. And output has not been

restricted, but rather has increased significantly throughout the period of alleged monopoly

maintenance. FOF ¶¶ 1079-80, 1084; see Am. Express, 138 S. Ct. at 2288.

       40.     Plaintiffs have not demonstrated possession of monopoly power through

assertions regarding a purported diminution in Google’s search quality; on the contrary, the

evidence shows that Google has consistently exceeded rivals’ search quality, has significantly

improved search quality during the period of alleged monopoly maintenance, and has continued

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to innovate in response to competition and consumer demand throughout that period. FOF ¶¶ 77-

90, 112-241, 682-760, 952, 978, 1079-82, 1085-1102.

       41.     Plaintiffs’ contention that Google did not adopt particular privacy-related features

after considering the tradeoffs they entailed or that it purportedly increased investment in

response to changed circumstances in the marketplace is not evidence of market power at all and

does not reflect a diminution in quality. Plaintiffs have not compared how search quality

allegedly varies based on the presence or absence of the challenged conduct or specific

competitive pressures, and they acknowledge that Google’s quality has been superior over time

and across a range of competitive conditions. FOF ¶¶ 1079-82, 1085-1123; see Kochert v.

Greater Lafayette Health Servs., Inc., 463 F.3d 710, 719 (7th Cir. 2006).

               2.      Plaintiffs have not presented sufficient indirect evidence of monopoly
                       power over general search services.

       42.     Because Plaintiffs’ proposed general search services market definition is infirm,

monopoly power cannot be inferred from the query share figures Plaintiffs offer. Queen City

Pizza, 124 F.3d at 440-41; CoStar Grp., Inc v. Com. Real Estate Exch. Inc., 619 F. Supp. 3d 983,

994 (C.D. Cal. 2022) (concluding alleged shares “over 90% or 95%” failed to establish market

power absent a properly defined market); Tr. 5911:23-5912:1 (Whinston).

       43.     Indirect evidence of monopoly power is also absent for the independent reason

that Plaintiffs have not established the alleged general search services market is characterized by

high barriers to entry. The evidence shows low costs of launching an advertising-funded general

search engine by serving search results provided by partners (e.g., as DuckDuckGo has done),

decreasing costs of building all aspects of a new general search engine from the ground up due to

technological advancements, and the ability of general search engines to achieve profitability

with a relatively small share of the alleged market. The evidence likewise demonstrates that user


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interaction data exhibits diminishing returns to scale at levels that current rivals have already

surpassed, and that new entrants can leverage rapidly improving machine learning technologies

that use little or no historical user interaction data. FOF ¶¶ 253-406, 483, 524-53, 605-31, 1083;

see United States v. Baker Hughes Inc., 908 F.2d 981, 987-88 (D.C. Cir. 1990) (noting that entry

barriers must be “significant” and rejecting the proposition that a defendant must “prove that new

competitors will ‘quickly’ or ‘effectively’ enter” in response to supracompetitive pricing);

United States v. Syufy Enters., 903 F.2d 659, 666-67 (9th Cir. 1990).

       44.     Google’s superior quality also is not a barrier to entry that supports a finding of

monopoly power, particularly in light of the evidence that general search engines can compete

successfully with only a small share of the alleged market. FOF ¶¶ 295, 542-53, 1740; see Syufy,

903 F.2d at 668-69 (rejecting argument that defendant’s “effectiveness as a competitor creates a

structural barrier to entry” as “an efficient, vigorous, aggressive competitor is not the villain

antitrust laws are aimed at eliminating,” and “[f]ostering an environment where businesses fight

it out using the weapon of efficiency and consumer goodwill is what the antitrust laws are meant

to champion”); United States v. Waste Mgmt., Inc., 743 F.2d 976, 984 (2d Cir. 1984).

       45.     The agreements Plaintiffs challenge in this case likewise are not properly

characterized as an entry barrier; they lower barriers to entry and expansion by allowing search

engines to compete for the default in addition to competing to attract users away from the default

(as Google has demonstrated by winning users on Windows PCs and mobile devices with Bing

set as the default). FOF ¶¶ 47-52, 71-75, 777-88, 824-31, 847-59, 1444; see L.A. Land Co. v.

Brunswick Corp., 6 F.3d 1422, 1427 (9th Cir. 1993).




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       B.      Google Does Not Possess Monopoly Power in Any of the Alleged Advertising
               Markets.

               1.      Search ads pricing and output does not provide direct evidence of
                       monopoly power, but rather confirms its absence.

       46.     Plaintiffs have not presented direct evidence of monopoly power in the alleged

ads-side markets because they have not demonstrated a restriction on the output of advertising in

those alleged markets. FOF ¶¶ 1099, 1124-25; see Am. Express, 138 S. Ct. at 2288 (“Where …

output is expanding at the same time prices are increasing, rising prices are equally consistent

with growing product demand.”); Broadcom, 501 F.3d at 307.

       47.     Plaintiffs also have not established the existence of supra-competitive pricing in

any of the alleged markets. The cost-per-click increases over time reflected in the “search ads

price index” on which Plaintiffs rely are inapposite because, among other things, the index does

not account for quality improvements, which must be addressed in any meaningful analysis of

pricing patterns. FOF ¶¶ 1131-43; see In re Wireless Tel. Servs. Antitrust Litig., 385 F. Supp. 2d

403, 427-28 (S.D.N.Y. 2005) (concluding a regression analysis showing defendants’ conduct

“resulted in increased [mobile phone] handset prices” was “essentially worthless” because it

failed to test whether the higher “average wholesale price for wireless handsets” was attributable

to factors such as “advances in handset features” or “improvements in handset quality”).

       48.     On a quality-adjusted basis, the price of Google search ads has decreased rather

than increased in recent years, and many of the particular launches that Plaintiffs contend

increased nominal prices (e.g., launches relating to squashing or rGSP) were followed by periods

of declining nominal (and real) prices, which demonstrates that Google does not possess

monopoly power in any of the alleged advertising markets. FOF ¶¶ 1132-39, 1169-72; see Xerox

Corp. v. Media Sci., Inc., 660 F. Supp. 2d 535, 549-50 (S.D.N.Y. 2009); Freeland v. AT&T

Corp., 238 F.R.D. 130, 149 (S.D.N.Y. 2006).

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       49.     Even if Plaintiffs could point to a change that purportedly increased the real price

of Google search ads, it would not be evidence of supra-competitive pricing (let alone of

monopoly power), as Plaintiffs have not accounted for price changes by other companies in the

alleged market during the same period or their use of the same techniques for managing ads

auctions. FOF ¶¶ 1178, 1183; see In re HIV Antitrust Litig., 656 F. Supp. 3d 963, 984 (N.D. Cal.

2023); Godix Equip. Export Corp. v. Caterpillar, Inc., 948 F. Supp. 1570, 1582 (S.D. Fla. 1996).

       50.     Firms in a competitive market routinely adjust prices for a variety of reasons, and

Plaintiffs have offered no evidence that advertisers’ return on their investment in Google’s

search ads has declined. FOF ¶¶ 1126-30; see Blue Cross & Blue Shield United of Wisc. v.

Marshfield Clinic, 65 F.3d 1406, 1411-12 (7th Cir. 1995) (“One [company] may charge higher

prices than other [companies] … not because it has a monopoly but because it is offering better

service than the other [companies] in its market.”); Xerox, 660 F. Supp. 2d at 549.

               2.      Plaintiffs have not presented sufficient indirect evidence of monopoly
                       power over the alleged advertising markets.

       51.     Because each of Plaintiffs’ proposed ads-side markets is invalid, monopoly power

cannot be inferred from the shares of those asserted markets Plaintiffs advance. Queen City

Pizza, 124 F.3d at 440-41; CoStar, 619 F. Supp. 3d at 994.

       52.     Plaintiffs cannot infer monopoly power from the share statistics they present for

the additional reason that Plaintiffs failed to show high entry barriers. Plaintiffs’ assertions

regarding purported barriers to entry in the ads-side markets suffer the same flaws as their

contentions regarding the alleged general search services market, including a failure to account

for the low costs of launching an advertising-funded general search engine by serving ads

provided by partners (e.g., as DuckDuckGo has done) and the decreasing financial resources and

user-interaction data entailed in building all aspects of a general search engine that attracts both


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users and advertisers. FOF ¶¶ 253-406, 483, 524-53, 605-31, 1083. None of the alleged ads

markets is protected by entry barriers sufficient to infer monopoly power. Rebel Oil, 51 F.3d at

1439; Baker Hughes Inc., 908 F.2d at 987-88.

       53.     With regard to the DOJ Plaintiffs’ search advertising market, indirect evidence of

monopoly power also is lacking for the independent reason that Plaintiffs failed to show

significant barriers to entry for SVPs, which frequently enter the market, have sold an increasing

share of search ads in recent years, and do not encounter the purported barriers identified by

Plaintiffs. FOF ¶¶ 652-79, 990-93, 995, 1192-98; see R.J. Reynolds Tobacco Co. v. Philip Morris

Inc., 199 F. Supp. 2d 362, 383 (M.D.N.C. 2002); IBM Peripheral EDP Devices Antitrust Litig.,

481 F. Supp. 965, 981-82 (N.D. Cal. 1979).

       54.     Plaintiffs have not sought to establish that Google possesses monopoly power in

any broader market that encompasses forms of digital advertising other than search ads, and

Google’s overall share of digital advertising revenue has decreased during the period analyzed

by Plaintiffs’ experts, while overall output has grown exponentially and exceeded projections.

FOF ¶¶ 990-98, 1084, 1192-97; see Am. Express, 138 S. Ct. at 2288.

III.   GOOGLE HAS NOT ENGAGED IN EXCLUSIONARY CONDUCT THAT
       COMPRISES THE WILLFUL MAINTENANCE OF MONOPOLY POWER.

       55.     In addition to proving that Google possesses monopoly power in a relevant

market, Plaintiffs must prove it “maintained this [monopoly] power through anticompetitive

means.” Microsoft, 253 F.3d at 51. “The mere possession of monopoly power … is not only not

unlawful; it is an important element of the free-market system.” Verizon Commc’ns Inc. v. Law

Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004). Plaintiffs thus must show Google

engaged in “exclusionary conduct” to maintain monopoly power. Microsoft, 253 F.3d at 58.




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       56.     To qualify as exclusionary conduct, the conduct “must harm the competitive

process and thereby harm consumers.” Microsoft, 253 F.3d at 58; see id. (“[T]he Sherman Act

directs itself not against conduct which is competitive, even severely so, but against conduct

which unfairly tends to destroy competition itself.”). And “to be condemned as exclusionary, a

monopolist’s act must have an ‘anticompetitive effect’” that is “substantial.” Id. at 58, 70.

       57.     In determining whether a monopolist’s actions have the requisite anticompetitive

effect, a court “must evaluate [the defendant’s] allegedly exclusionary conduct separately.” In re

EpiPen Mktg., Sales Practices & Antitrust Litig., 44 F.4th 959, 982 (10th Cir. 2022); see United

States v. Google LLC, 2023 WL 4999901, at *12-14 (D.D.C. Aug. 4, 2023).

       58.     “[I]f a plaintiff successfully establishes a prima facie case under § 2 by

demonstrating anticompetitive effect, then the monopolist may proffer a ‘procompetitive

justification’ for its conduct.” Microsoft, 253 F.3d at 59. Examples of valid procompetitive

justifications include, among other things, “improv[ing] device security,” Epic Games, 67 F.4th

at 986-89; fostering a “novel business practice … that was beneficial to consumers in the long

run,” FTC v. Qualcomm Inc., 969 F.3d 974, 1003 (9th Cir. 2020); “eliminating free riding,” N.

Am. Soccer League, LLC v. U.S. Soccer Federation, Inc., 883 F.3d 32, 43-44 (2d Cir. 2018);

“enhanc[ing] interbrand competition,” Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551

U.S. 877, 889-91 (2007); improving product performance, Microsoft, 253 F.3d at 67; and

winning a counterparty’s business by “guarantee[ing] a stable source of supply” at “a stable,

favorable price,” Barry Wright Corp. v. ITT Grinnell Corp., 724 F.2d 227, 237 (1st Cir. 1983).

       59.     If the defendant “asserts a procompetitive justification … then the burden shifts

back to the plaintiff to rebut that claim.” Microsoft, 253 F.3d at 59.




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       60.      Finally, if the “procompetitive justification stands unrebutted, then the plaintiff

must demonstrate that the anticompetitive harm of the conduct outweighs the procompetitive

benefit.” Id. “[I]n considering whether the monopolist’s conduct on balance harms competition

and is therefore condemned as exclusionary for purposes of § 2, [the court’s] focus is upon the

effect of that conduct, not upon the intent behind it.” Id.

       A.      Google’s Agreements with Browser Developers Such as Apple and Mozilla
               Do Not Comprise Exclusionary Conduct.

                   1. The browser agreements are not exclusive or de facto exclusive.

       61.     Plaintiffs assert that Google’s agreements with browser developers such as Apple

and Mozilla are exclusionary because they are exclusive or de facto exclusive deals. Exclusive

dealing principles therefore govern whether the agreements comprise exclusionary conduct.

EpiPen, 44 F.4th at 982 (“[C]ourts disaggregate the exclusionary conduct into its component

parts before applying the relevant law.”); Microsoft, 253 F.3d at 68-69.

       62.     “A threshold requirement for any exclusive dealing claim is necessarily the

presence of exclusive dealing.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 282 (3d Cir.

2012). Not all agreements that secure an opportunity otherwise available to rivals involve actual

or de facto exclusive dealing. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1182

(9th Cir. 2016) (“[A] plaintiff must still show that contracts that were induced were exclusive

rather than run-of-the-mill contracts, which inevitably foreclose or exclude alternative sellers

from some portion of the market, namely the portion consisting of what was bought.” (internal

quotation marks, brackets, and citation omitted)); Microsoft, 253 F.3d at 67-68, 70 (reversing

district court’s determination that Microsoft violated Section 2 by paying “IAPs a bounty for

each customer the IAP signs up for service using the IE browser” even though “IAPs

constitute[d] one of the two major channels by which browsers can be distributed”).


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       63.     An exclusive agreement in general is one that by its terms “forbids the buyer of

the defendant’s goods from purchasing similar goods from a rival as well.” Areeda &

Hovenkamp at ¶ 1800 (emphasis added); see ZF Meritor, 696 F.3d at 270 (“An exclusive dealing

arrangement is an agreement in which a buyer agrees to purchase certain goods or services only

from a particular seller for a certain period of time.” (emphasis added)). “[D]e facto exclusive”

dealing refers to terms “that have the ‘practical effect’ of preventing buyers from doing business

with the monopolist’s competitors.” Simon & Simon, P.C. v. Align Tech., Inc., 533 F. Supp. 3d

904, 915-16 (N.D. Cal. 2021) (emphasis added)).

       64.     Google’s agreements with browser developers are not exclusive or de facto

exclusive because they neither expressly “forbid” developers “from purchasing similar goods

from a rival as well,” Areeda & Hovenkamp at ¶ 1800, nor have the “practical effect” of

“preventing” developers from “doing business with the monopolist’s competitors.” Simon &

Simon, 533 F. Supp. 3d at 916. Browser developers that set Google as the default can and do

enter agreements with rival search engines to provide a readily available and easily discoverable

option for the user to change the default in the browser, display bookmarks in the browser

interface where users can access rival search engines, and accept revenue share payments from

rival search engines. FOF ¶¶ 1230-34, 1280-91, 1350-55, 1401-14. The promotion of rival search

engines in the same browser where Google is the default shows that the contracts are not

exclusive deals. B. Douglas Bernheim & Michael D. Whinston, Exclusive Dealing, 106 J. Pol.

Econ. 64, 65 (1998) (indicating that an exclusive agreement “prohibits a retailer or distributor

that carries its product from selling certain other products” (emphasis added)).




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       65.     The browser agreements are not exclusive or de facto exclusive for the further

reason that they do not restrict users’ ability to search outside the access point set to Google by

default, which the evidence demonstrates occurs with great frequency. For example:

       a)      Only about 60% of general search queries on Apple iOS devices are entered in the

Safari search bar where Google is the default upon first use. Nearly 40% of all queries on iOS

devices are input through other access points, such as user-downloaded browsers, user-

downloaded search apps, or bookmarks where rival search engines appear alongside Google.

Moreover, Google’s agreement with Apple does not include any restriction on Apple’s ability to

preinstall or otherwise promote another company’s search widget or application. FOF ¶¶ 1280-

91, 1402-07, 1412-13.

       b)      When Mozilla set Yahoo as the default in Firefox from 2014 to 2017, Google still

received nearly 70% of queries from Firefox users. Firefox is not currently a preinstalled browser

on any major device, and browsers with rival search engines set as the default (such as

Microsoft’s Edge or DuckDuckGo’s browser) are at least as easy for users to access on a device

where a user has installed Firefox. FOF ¶¶ 769, 783-86, 1410, 1414.

       c)      For years Google has received nearly 80% of queries on Windows PCs even

though Microsoft has agreements to set Bing as the default search engine on every pre-installed

access point. And when Bing was the default on Blackberry smartphones, Google received an

even larger percentage of users’ queries. FOF ¶¶ 47-52, 770, 777-82, 824-31, 847-59.

       66.     Unlike agreements that have been characterized as exclusive or de facto

exclusive, Google’s agreements with browser developers neither guarantee any volume or

percentage of queries to Google nor restrict the volume or percentage of queries that rivals may

receive. Microsoft, 253 F.3d at 68; ZF Meritor, 696 F.3d at 277. And as indicated, the evidence



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shows that a significant number of smartphone and computer users in fact search outside of the

access points subject to browser default agreements. Browser developers’ ability to promote

rivals and users’ demonstrated behavior each confirm that the browser agreements are not

exclusive or de facto exclusive. Aerotec, 836 F.3d at 1182; see R.J. Reynolds, 199 F. Supp. 2d at

387 (explaining that the challenged “agreements are not exclusive dealing arrangements”

because “[i]n an exclusive dealing contract, the retailer is forbidden from carrying any competing

products or posting any competitive signs,” while the challenged “agreements, in contrast, do not

preclude the display of competing products, do not control the prices at which those products are

offered, and do not provide Defendant with more than its market share of product space”).

               2.      The browser agreements do not foreclose a substantial share of the
                       alleged markets.

       67.     Even if the browser agreements were characterized as actual or de facto exclusive

agreements, they could not form a basis for liability because they do not foreclose a “substantial

share” of the alleged markets. Microsoft, 253 F.3d at 69 (“[A]n exclusive contract does not

violate the [antitrust laws] unless its probable effect is to ‘foreclose competition in a substantial

share of the line of commerce affected.’”); see EpiPen, 44 F.4th at 983 (“Courts repeatedly

explain that exclusive dealing agreements are often entered into for entirely procompetitive

reasons and pose very little threat to competition even when utilized by a monopolist.”);

McWane, Inc. v. FTC, 783 F.3d 814, 835 (11th Cir. 2015) (observing foreclosure “‘serves a

useful screening function’ as a proxy for anticompetitive harm”).

       68.     Google’s agreements with browser developers such as Apple and Mozilla do not

foreclose any share of the alleged relevant markets, let alone a “substantial share.” Rival search

engines have not been denied an opportunity to compete for any share of the market because they

can compete both against the default and for the default.


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       a)      The evidence shows that search engines not set as the default in a browser can and

do compete “against the default” by, for example, encouraging users to switch the default or

download a different browser or search application, which occurs with great frequency on

smartphones and computers. FOF ¶¶ 47-52, 71-75, 777-88, 824-31, 847-59, 1401-14.

       b)      The evidence further demonstrates that rival search engines can and do compete

“for the default” by offering deals to entice browsers to set their search engine as the default

instead of Google. FOF ¶¶ 1304-39, 1365-69, 1384-1400.

       69.     Because rival search engines have an opportunity to compete for all users of a

browser such as Safari or Firefox, there is no foreclosure. Eisai, Inc. v. Sanofi Aventis U.S., LLC,

821 F.3d 394, 403 (3d Cir. 2016) (“In analyzing the amount of foreclosure, our concern is not

about which products a consumer chooses to purchase, but about which products are reasonably

available to that consumer.”); Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP,

592 F.3d 991, 997-98 (9th Cir. 2010).

       70.     Plaintiffs’ approach to calculating foreclosure is flawed in many respects,

including that they did not measure or estimate foreclosure against an economically valid but-for

world. FOF ¶¶ 793-95, 1418-22; see Rambus Inc. v. FTC, 522 F.3d 456, 466-67 (D.C. Cir. 2008)

(concluding “the Commission failed to demonstrate that Rambus’s conduct was exclusionary”

because “if [a third party], in the world that would have existed but for Rambus’s deception,

would have standardized the very same technologies, Rambus’s alleged deception cannot be said

to have had an effect on competition in violation of the antitrust laws”).

       a)      Plaintiffs contend that instead of entering an agreement in which a browser

developer agrees to set Google as the default, Google could have entered a “most-favored

supplier” contract in which the developer agrees to give Google the same prominence as any



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other search engine (i.e., through a choice screen). But Plaintiffs have not shown how many

queries rivals purportedly could have received in such a scenario, and the evidence from the

choice screen implemented on Android devices in Europe indicates that the number is far smaller

than any court has ever deemed “substantial” in an exclusive dealing case. FOF ¶¶ 803-23, 1426-

32; see Sterling Merch., Inc. v. Nestle, S.A., 656 F.3d 112, 123-24 (1st Cir. 2011) (observing that

“high numbers do not guarantee success for an antitrust claim,” while “low numbers make

dismissal easy”); Minn. Mining & Mfg. Co. v. Appleton Papers, Inc., 35 F. Supp. 2d 1138, 1143

(D. Minn. 1999) (“[J]udicial decisions have established a virtual safe harbor for market

foreclosure of 20 percent or less.” (citation omitted)).

       b)      Plaintiffs also contend that Google could have entered an “unconditional” revenue

share agreement with browser developers, but again Plaintiffs have not attempted to demonstrate

how many queries rivals purportedly could have received in such a scenario, let alone that it

reflects an economically valid market outcome. FOF ¶¶ 796-802.

       71.     The percentage of queries “covered by” the challenged agreements is not a valid

measure of foreclosure. For one thing, because the purpose of foreclosure is to help assess

anticompetitive effects, there is no basis for avoiding the but-for world inquiry that even

Professor Whinston concedes is necessary to assess anticompetitive effects. Tr. 5779:18-5780:3

(Whinston) (“When I get to anticompetitive effects, I am thinking about but-for worlds.”). For

another, the agreements indisputably affect only a fraction of the search queries that flow

through the access points subject to the agreements. Plaintiffs’ own analysis acknowledges that

numerous users would search with Google even if another search engine were the default, which

renders “coverage” unreliable as a measure of foreclosure. FOF ¶¶ 1415-16, 1423-25, 1616-19;

see Church & Dwight Co. v. Mayer Labs., Inc., 868 F. Supp. 2d 876, 914 (N.D. Cal. 2012)



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(vacated in part on other grounds, 2012 WL 1745592); United States v. Hammermill Paper Co.,

429 F. Supp. 1271, 1282 (W.D. Pa. 1977). And for yet another, any quantitative measure of

foreclosure must account for qualitative factors bearing on the ultimate question: the impact of

any foreclosure on competition. Microsoft, 253 F.3d at 70-71.

        72.     Professor Whinston testified at trial about a 33% foreclosure figure—premised on

an improper and newly invented analysis not disclosed before trial—that purports to identify the

fraction of queries covered by the browser and Android agreements collectively that a superior

search rival could not obtain. This figure is invalid for the additional reasons that it failed to

account for a superior rival’s ability to compete to displace Google as the default and is based on

speculation and a hard-wired service with fundamentally different characteristics (i.e., Apple

Maps) instead of empirical evidence of what has occurred when a lower-quality search engine

has been set as the default (e.g., on Windows PCs, smartphones that preloaded Bing or Yahoo, or

in Firefox when Yahoo was the default). FOF ¶¶ 47-52, 764-70, 824-31, 847-59, 1423-25.

        73.     Even Plaintiffs’ flawed 33% figure does not represent a “substantial share” of any

of the alleged markets. While “a monopolist’s use of exclusive contracts, in certain

circumstances, may give rise to a § 2 violation even though the contracts foreclose less than the

roughly 40% or 50% share usually required in order to establish a § 1 violation,” Microsoft, 253

F.3d at 70 (emphasis added), the present circumstances do not qualify because rivals can

compete both for and against a default. Areeda & Hovenkamp at ¶ 1807d (“The discussion of

exclusive dealing suggests that minimum market shares in the range of 30 to 40 percent are

required for condemnation. These numbers presume outright exclusive dealing and contracts of

sufficiently long duration. When the restraint in question excludes less, or if rivals are in a




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stronger position to bid business away from the defendant, then foreclosure percentages must

reflect those facts.” (emphasis added)); EpiPen, 44 F.4th at 988.

               3.      Plaintiffs have not demonstrated that the browser agreements harmed
                       competition.

       74.     Because Plaintiffs “must demonstrate that the monopolist’s conduct indeed has

the requisite anticompetitive effect,” Microsoft, 253 F.3d at 58-59, Plaintiffs cannot satisfy their

burden by showing only that Google entered into exclusive or de facto exclusive agreements that

foreclosed a substantial share of a relevant market. Plaintiffs must also show that those

agreements in fact “harmed competition, not just a competitor” in relation to a but-for world in

which the purportedly unlawful restrictions did not exist. Id. at 59; see Rambus, 522 F.3d at 466-

67; Tr. 5779:18-5780:3, 6085:15-19 (Whinston).

       75.     The evidence does not support Plaintiffs’ assertion that the challenged agreements

impermissibly deprived rivals of a minimum amount of scale necessary to compete in relation to

any but-for world. The evidence instead shows that user interaction data exhibits diminishing

returns to scale at levels that current rivals have surpassed, and their shortcomings are due to an

array of factors other than scale. On an issue on which Plaintiffs bear the burden, they have not

established that shifting queries to an inferior search engine—to the obvious detriment of any

users who tend to stick with the default—would provide that search engine with the scale

necessary to generate long-term quality improvements that would ultimately change the

competitive landscape and redound to the benefit of consumers. FOF ¶¶ 253-631.

       76.     The evidence also fails to support Plaintiffs’ speculation that the browser

agreements impair rivals’ incentive to compete in relation to a but-for world, particularly given

the significant number of consumers who search outside the default access point on smartphones

and computers. FOF ¶¶ 1446-54; see supra ¶ 68. Moreover, an impact on rivals’ incentives is not


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evidence of exclusionary conduct, as price and quality competition often have the same effect.

Ball Mem. Hosp., 784 F.2d at 1338; Syufy, 903 F.2d at 668 (explaining that vigorous competition

can involve “deterr[ing] competitors by supplying a better product at a lower price”).

       77.     The evidence likewise does not support the Colorado Plaintiffs’ contention that

rivals’ ability to partner with SVPs has been impermissibly hindered in relation to any but-for

world. Rather, the evidence shows that Microsoft has content partnerships with scores of SVPs,

and that the few instances where Microsoft was unable to reach a deal were neither attributable

to the challenged agreements nor affected Microsoft’s ability to compete. FOF ¶¶ 1736-43.

       78.     Plaintiffs’ assertion at trial that Apple is restricted in its ability to offer

“suggestions” to Safari users by the 2016 amendment to the ISA that provides that “Apple’s use

of the Services as Default in the Web Browser Software will remain substantially similar to its

use … as of the Execution Date” is factually incorrect and inadmissible in any event. Plaintiffs

offered no evidence at trial that the 2016 agreement limited Apple’s ability to provide direct

answers to user queries in the Safari browser, nor did Plaintiffs prove that this provision had any

impact on Apple’s ability to develop its own general search engine. FOF ¶¶ 1269-71, 1293-1303.

       79.     Professor Whinston’s testimony at trial on this issue is insufficient and

inadmissible for several reasons. First, he admitted at trial that he disclosed no opinions in his

expert reports prior to trial about this provision. Tr. 6062:12-16 (Whinston). Second, Plaintiffs’

Complaints do not include any allegations about a restriction on Apple’s ability to offer

suggestions to Safari users, and Plaintiffs did not reference any such restriction in response to an

interrogatory asking them to identify the contract provisions they claim are anticompetitive.

Blake v. Securitas Sec. Servs., 292 F.R.D. 15, 19 (D.D.C. 2013) (explaining that the

“overwhelming weight of authority is that preclusion is required and mandatory absent some



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unusual or extenuating circumstances” for a violation of Rule 26(a)(2)’s requirement on

disclosure of expert testimony); United States ex rel. Morsell v. NortonLifeLock, Inc., 2022 WL

278773, at *4 (D.D.C. Jan. 31, 2022).

               4.      The browser agreements reflect competition on the merits based on
                       search quality and price.

       80.     For many of the same reasons the browser agreements are not exclusive dealing,

they do not comprise exclusionary conduct because they reflect the outcome of competition on

the merits. Google competes with other search engines on the basis of quality and price to be the

default in browsers designed by firms such as Apple and Mozilla, and those firms have chosen to

set Google as the default based on their determination that it offers the highest-quality experience

for their browsers and customers. FOF ¶¶ 1220-30, 1248, 1256, 1261, 1266-67, 1274-79.

       81.     Competing for an opportunity by offering above-cost pricing—which is not

predatory as a matter of law, Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 451

(2009)—and a superior product is competition on the merits that does not violate Section 2.

Microsoft, 253 F.3d. at 68 (“The rare case of price predation aside, the antitrust laws do not

condemn even a monopolist for offering its product at an attractive price, and we therefore have

no warrant to condemn Microsoft for offering either IE or the IEAK free of charge or even at a

negative price.”); id. (“[A] monopolist does not violate the Sherman Act simply by developing

an attractive product.”).

       82.     Because competition on the merits is not anticompetitive or exclusionary conduct,

Plaintiffs have not met their prima facie burden with regard to the browser agreements. Id. at 62,

65 (“Because Microsoft’s conduct, through something other than competition on the merits, has

the effect of significantly reducing usage of rivals’ products and hence protecting its own




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operating system monopoly, it is anticompetitive.” (emphasis added)); see id. at 58 (“The

successful competitor, having been urged to compete, must not be turned upon when he wins.”).

               5.     The browser agreements are justified by numerous procompetitive
                      benefits in the alleged markets that stand unrebutted and outweigh
                      any asserted harm to competition.

       83.     Even if the browser agreements were characterized as exclusive deals that have an

anticompetitive effect, they are supported by business justifications that generate procompetitive

benefits sufficient to outweigh any purported harm to competition.

       84.     The evidence shows that for approximately two decades (i.e., starting before

Plaintiffs contend that Google’s conduct harmed competition), browser developers have

designed their browsers with a single default search engine, and third-party browser developers

have sought compensation from a search engine in exchange for setting it as the default. This

exchange is a “normal competitive tool” in the industry that is not exclusionary, even if the

resulting agreement is characterized as exclusive or de facto exclusive. FOF ¶¶ 789-92, 860-68,

1220-30, 1241-79; see EpiPen, 44 F.4th at 989 (affirming judgment for defendant on Section 2

claim where “[t]he widespread use of exclusive rebate agreements in the … market … does not

suggest [defendant] acted anticompetitively,” but “[r]ather, this demonstrates the market was

functioning properly”); Barry Wright, 724 F.2d at 237-38.

       85.     The evidence shows that throughout the period Plaintiffs’ experts evaluated for

potential anticompetitive effects, Apple and Mozilla continued to design their browsers with a

single, user-changeable default search engine because they believe doing so makes their

browsers more attractive to consumers and stimulates competition from search engines to be the

default. FOF ¶¶ 865-68, 1235-40, 1348-51, 1356-59; see Stearns Airport Equip. Co. v. FMC

Corp., 170 F.3d 518, 524 (5th Cir. 1999) (affirming judgment for defendant under Section 2

where “the decision to sole-source a contract or adopt a particular specification was always

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ultimately in the hands of the consumer,” i.e., the counterparty); Race Tires Am., Inc. v. Hoosier

Racing Tire Corp., 614 F.3d 57, 83 (3d Cir. 2010) (“It is well established that competition

among businesses to serve as an exclusive supplier should actually be encouraged.”).

       86.     The browser agreements improve search quality and output by enabling the

browser to work effectively out of the box; incentivizing the browser developer to select the

highest quality search engine; and encouraging the developer to improve the browser’s speed,

stability, ease of use, and other attributes that encourage users to conduct more searches.

Payment of a revenue share underpins these benefits, as browser developers have the opportunity

to earn more money by making improvements that encourage more searching. FOF ¶¶ 773-76,

1435-36; see N. Am. Soccer League, 883 F.3d at 43 (referencing greater output, enhanced

product appeal, improved quality, more secure financial viability, and eliminating free riding as

valid justifications); Barry Wright, 724 F.2d at 237.

       87.     The browser agreements also improve search quality and output by encouraging

search engines to make quality improvements to compete for or maintain the default position,

which offers the opportunity to win a segment of consumers who are inclined to stick with the

default and receive the endorsement of a browser developer as meriting the default selection.

FOF ¶¶ 761-64, 1437-41; see Epic Games, 67 F.4th at 971; Microsoft, 253 F.3d at 59 (describing

“enhanced consumer appeal” as a procompetitive justification).

       88.     And the browser agreements further enhance search quality and output by

introducing price competition that would not otherwise exist given that search engines are

available to users at no cost. Search engines have an incentive to compete on multiple

dimensions to be the default in addition to competing to attract users directly (e.g., by

encouraging them to switch the default or download their search application or browser). FOF ¶¶



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71-75, 1442-43; see N. Am. Soccer League, 883 F.3d at 43; Microsoft, 253 F.3d at 59 (citing

“greater efficiency” as a procompetitive justification).

       89.     The evidence shows that Apple and Mozilla evaluate rival search engines and

decide whether to set Google as the default based on a recurring consideration of quality and

price. FOF ¶¶ 1241-79, 1304-47, 1360-79. This form of “competition for the contract is a vital

form of rivalry, and often the most powerful one, which the antitrust laws encourage rather than

suppress.” Menasha Corp. v. News Am. Mktg. In-Store, Inc., 354 F.3d 661, 663 (7th Cir. 2004);

see Paddock Publ’ns, Inc. v. Chi. Trib. Co., 103 F.3d 42, 45 (7th Cir. 1996) (explaining that

“[c]ompetition-for-the-contract is a form of competition that antitrust laws protect rather than

proscribe” because even if “[e]xclusive contracts make the market hard to enter in” the interim,

they “cannot stifle competition over the longer run,” while “competition of this kind drives down

the price … to the ultimate benefit of consumers”).

       90.     Overturning price and quality competition in the hope that a different outcome

may emerge is antithetical to the Sherman Act, which addresses whether “a monopolist’s act …

harm[s] the competitive process and thereby harm[s] consumers,” Microsoft, 253 F.3d at 58. The

Sherman Act neither seeks to restrain a market leader from drawing upon all of its advantages to

compete nor authorizes a reallocation of market opportunities in an effort to encourage less

efficient rivals to catch up. EpiPen, 44 F.4th at 985 (describing how “antitrust became indifferent

to the preservation of inefficient competitors”); Novell, Inc. v. Microsoft Corp., 731 F.3d 1064,

1072 (10th Cir. 2013) (“Forcing monopolists to ‘hold[] an umbrella over inefficient competitors’

might make rivals happy but it usually leaves consumers paying more for less.”).




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               6.     The challenged agreements benefit competition in complementary
                      markets that also create benefits in Plaintiffs’ alleged markets.

       91.     The browser agreements also benefit browser competition. The quality of the

default search engine has a significant impact on the browser; users rely on browser developers

to choose a high-quality default; and browser developers rely on search revenue share payments

to fund research and development that enhances their product and ability to compete. Benefits to

browser competition, in turn, further enhance search competition. FOF ¶¶ 904-07, 1455-67.

       92.     There is no dispute that procompetitive benefits that accrue in Plaintiffs’ alleged

markets are legally cognizable even if the same conduct also produces benefits in other markets.

Sept. 1, 2023 Hr’g Tr. 47:21-25; see Sullivan v. Nat’l Football League, 34 F.3d 1091, 1113 (1st

Cir. 1994) (“[E]vidence of benefits to competition in the relevant market can include evidence of

benefits flowing indirectly … that ultimately have a beneficial impact on competition in the

relevant market itself.”). The evidence shows that enhancing browser competition enhances

search output. FOF ¶¶ 1464-67.

       93.     The benefits to browser competition that result from Google’s agreements are also

cognizable irrespective of their benefits to search competition because search engines and

browsers are highly complementary, and courts credit justifications in those circumstances even

when the benefits lay outside the asserted markets. FOF ¶ 1464; see Microsoft, 253 F.3d at 96

(concluding that on remand of Plaintiffs’ tying claim, Microsoft “may offer the same

procompetitive justification for the override” in the operating system market even though

plaintiffs would seek to show anticompetitive effects “in the browser market” that are “greater

than these benefits” (first emphasis added)); see Eastman Kodak, 504 U.S. at 483-84; NCAA v.

Bd. of Regents of Univ. of Okla., 468 U.S. 85, 111, 115-17 (1984); Mozart Co. v. Mercedes-Benz

of N. Am., Inc., 833 F.2d 1342, 1348-51 (9th Cir. 1987).


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        94.     The challenged agreements’ benefits to competition in complementary markets

distinguish cases in which courts have declined to count out-of-market efficiencies on the

grounds that the asserted efficiency would not have counted even if it had accrued in Plaintiffs’

alleged market. Smith v. Pro Football, Inc., 593 F.2d 1173, 1185-86 (D.C. Cir. 1978) (rejecting

NFL’s argument that restriction was “‘procompetitive’ in its effect on the playing field” because

it was not a benefit relating to “competition in the economic sense,” and therefore would have

failed irrespective of whether it was a benefit in or out of the asserted relevant market).

                7.      Plaintiffs have not identified a valid substantially less restrictive
                        alternative.

        95.     Plaintiffs cannot rebut a procompetitive justification merely by hypothesizing

alternative conduct, but instead must “prove that ‘substantially less restrictive alternative rules’

existed to achieve the same procompetitive benefits.” NCAA v. Alston, 141 S. Ct. 2141, 2162

(2021) (emphasis added). “[A]ntitrust law does not require businesses to use anything like the

least restrictive means of achieving legitimate business purposes,” and “courts should not

second-guess ‘degrees of reasonable necessity,’” as that “would be a recipe for disaster” given

that a “‘skilled lawyer’ will ‘have little difficulty imagining possible less restrictive alternatives

to most joint arrangements.’” Id. at 2162 (internal citation omitted); see Trinko, 540 U.S. at 414.

        96.     Plaintiffs have not identified a valid substantially less restrictive alternative for

achieving the relevant procompetitive benefits. Plaintiffs’ proffered alternatives—namely an

“unconditional” revenue share payment or a “most-favored supplier” arrangement—are not

substantially less restrictive because they have no real-world basis. The evidence shows they do

not reflect agreements between browser developers and search providers that would arise in

competition absent the challenge conduct. FOF ¶¶ 416-29, 796-98, 803-814, 832-46, 1304-10,

1318, 1365-66; see Alston, 141 S. Ct. at 2161.


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        97.     Plaintiffs’ hypothetical agreements also are not valid less-restrictive alternatives

for the independent reason that Plaintiffs did not prove they would preserve most, let alone all, of

the procompetitive benefits of Google’s browser agreements without increased costs. Alston, 141

S. Ct. at 2164; Cnty. of Tuolumne v. Sonoma Cnty. Hosp., 236 F.3d 1148, 1159 (9th Cir. 2001)

(“[P]laintiffs must also show that an alternative is substantially less restrictive and is virtually as

effective in serving the legitimate objective without significantly increased cost.”). Plaintiffs

have not established that a browser developer could generate sufficient revenue from

“unconditional” payments to fund improvements to its browser that improve search quality and

output. And as for “most-favored supplier” agreements, the evidence shows that browser

developers do not want to offer a search engine choice screen in place of a default because doing

so would harm their users and decrease their revenue share. FOF ¶¶ 801-02, 815-23, 1235-40,

1268, 1357-59, 1433, 1445.

        B.      Google’s MADAs with Android OEMs and RSAs with Android OEMs and
                Wireless Carriers Do Not Comprise Exclusionary Conduct.

                1.      The MADAs and RSAs are not exclusive or de facto exclusive.

        98.     Plaintiffs’ contention that Google’s MADAs with Android OEMs and RSAs with

Android OEMs and wireless carriers are anticompetitive is predicated on characterizing those

agreements as a form of exclusive or de facto exclusive dealing, and the claims therefore must be

analyzed under the doctrinal rules specific to that theory. See supra ¶ 61.

        99.     MADAs are not exclusive or de facto exclusive. They expressly permit OEMs to

preinstall other general search applications and browsers with a different search engine set as the

default, and they do not specify the default search service or default browser for any device. FOF

¶¶ 1469-78. Significant search volumes flow through access points that are not addressed by

MADAs (e.g., the “hot seat”), such that OEMs can prominently promote rival search engines if


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they wish to do so, and MADAs do not block consumers from downloading rival search engines

or removing the Google Search widget. MADAs therefore do not comprise actual or de facto

exclusive dealing. FOF ¶¶ 1560-73, 1587-97; see supra ¶¶ 62-66.

       100.    Google’s current RSAs with Android OEMs and wireless carriers allow the

counterparty to determine on a device-by-device basis whether to refrain from preinstalling

alternative search services on the device upon first use in order to earn the highest available

revenue share percentage. FOF ¶¶ 1479-1507, 1575-86. The agreements do not comprise actual

or de facto exclusive dealing because the counterparty can decide at any time to preinstall a rival

search engine on a device without forfeiting any payments it earns from Google on other devices.

Allied Orthopedic, 592 F.3d at 997 (concluding “sole-source agreements did not foreclose

competition” because counterparties “could choose at anytime to forego the discount offered by

[Defendant] and purchase from a generic competitor”). The RSAs also affirmatively preserve

users’ ability to access rival search engines directly, such as by downloading alternative search

applications or browsers (e.g., from the Google Play Store) or by changing the default search

engine in Google’s Chrome browser. FOF ¶¶ 1587-97; see Allied Orthopedic, 592 F.3d at 997.

               2.      The Android agreements do not foreclose a substantial share of the
                       alleged markets.

       101.    Even if MADAs and/or RSAs were considered exclusive or de facto exclusive

deals, they could not serve as a basis for liability under Section 2 because they do not foreclose a

“substantial share” of any of the alleged relevant markets. Microsoft, 253 F.3d at 69. Neither

MADAs nor RSAs foreclose any share of the alleged markets, let alone a “substantial share.”

       a)      Rival search engines can compete for incremental promotion on every MADA

device, and they can do the same under each device-by-device RSA. FOF ¶¶ 1560-86.




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       b)      Rivals can also compete to reach users directly, and the evidence shows that user-

downloadable browsers and applications are an established means of distributing search directly

to users even if every preinstalled search access point is set to a default search engine (as has

been the case on Windows PCs, for example, where Google nevertheless receives a significant

majority of queries). FOF ¶¶ 47-52, 777-88, 824-31, 1587-97; see Allied Orthopedic, 592 F.3d at

997 (“If competitors can reach the ultimate consumers of the product by employing existing or

potential alternative channels of distribution, it is unclear whether such restrictions foreclose

from competition any part of the relevant market.”); PNY Techs., Inc. v. SanDisk Corp., 2014

WL 2987322, at *9 (N.D. Cal. July 2, 2014); CDC Techs., Inc. v. IDEXX Labs., Inc., 7 F. Supp.

2d 119, 121-22 (D. Conn. 1998) (aff’d, 186 F.3d 74 (2d Cir. 1999)).

       102.    As indicated, Plaintiffs’ approach to calculating foreclosure is flawed because

they have not measured it against an economically valid but-for world. See supra ¶ 70.

       103.    No foreclosure is attributable to MADAs in relation to a but-for world where

Google Search and Chrome are licensed separately from the MADA. There is no evidence any

Android OEM is interested in preinstalling a search rival in place of Google (i.e., by licensing

the Play Store but not Google Search), and in Europe where that option is available no OEM has

done so (or foregone placing the Google Search widget). FOF ¶¶ 1527-37, 1601-09.

       104.    Even if Android RSAs were considered exclusive deals that foreclose a share of

the alleged markets, the evidence shows they foreclose fewer than 1% of general search queries.

Professor Whinston proffered as a less-restrictive alternative a “most-favored supplier”

agreement, where OEMs and carriers could agree to promote Google as prominently as any other

search engine (i.e., through a choice screen). Based on Professor Whinston’s analysis of the

results of the choice screen currently on Android devices in Europe, more than 90% of U.S. users



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would select Google, such that fewer than 1% of additional general search queries would be

available to rivals. FOF ¶¶ 1610-13; Tr. 6046:16-19 (Whinston).

       105.    The DOJ Plaintiffs’ previously undisclosed 33% foreclosure figure, which

aggregates all Android and browser agreements, is flawed for the reasons stated above, including

its failure to examine evidence of what actually occurs when a lower-quality search engine is the

default and its failure to consider that a superior rival would win promotional opportunities on

Android devices. See supra ¶ 72. Any calculation of the proportion of the 33% foreclosure figure

attributable to the Android agreements (i.e., 11.6% to 13.5% of all general search queries) is far

below what could be considered “substantial.” Minn. Mining & Mfg., 35 F. Supp. 2d at 1143

(observing that “judicial decisions have established a virtual safe harbor for market foreclosure

of 20 percent or less” (citation omitted)); see FOF ¶¶ 1617-18.

       106.    As indicated, the percentage of queries “covered by” the challenged agreements is

not a valid measure of foreclosure, including because rivals can compete for promotion and the

agreements indisputably impact only a fraction of the queries that flow through the access points

subject to the agreements. See supra ¶ 71. Even if “coverage” were a relevant data point,

however, the evidence shows the Android agreements “cover” only 19.4% of general search

queries. FOF ¶ 1616. A foreclosure percentage that is less than half of what is “usually required”

cannot represent a “substantial share,” even in a Section 2 case. Microsoft, 253 F.3d at 70; see

R.J. Reynolds, 199 F. Supp. 2d at 388. And for the reasons explained above, there is no evidence

of any foreclosure translating into competitive harm. See supra ¶¶ 71, 74-77.

               3.      Plaintiffs have not demonstrated that the Android agreements
                       harmed competition.

       107.    As stated above, Plaintiffs have not demonstrated that in relation to any but-for

world the challenged agreements impermissibly deprived rivals of a minimum amount of scale


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necessary to compete, impermissibly diminished their incentives to compete, or impermissibly

impaired their ability to form partnerships with SVPs. See supra ¶¶ 74-77.

       108.    Plaintiffs’ invocation of Branch Metrics does not provide evidence of the requisite

anticompetitive effect because, among other things, Branch Metrics’ services are not part of

Plaintiffs’ alleged markets; there is no evidence that Google’s agreements with Android OEMs

or carriers prevented any third party from preloading any Branch services that it otherwise

wanted to license or prevented Branch from partnering with Google’s search rivals; and there is

no evidence that wider deployment of Branch would facilitate general search engine entry or

expansion in the relevant markets. FOF ¶¶ 1620-84; see Am. Express, 138 S. Ct. at 2284

(describing plaintiff’s “burden to prove that the challenged restraint has a substantial

anticompetitive effect that harms consumers in the relevant market” (emphasis added));

Qualcomm, 969 F.3d at 993.

               4.      The Android agreements are justified by numerous procompetitive
                       benefits in the alleged markets that stand unrebutted and outweigh
                       any asserted harm to competition.

       109.    Even if the MADAs and/or RSAs were characterized as exclusive deals that have

an anticompetitive effect, they are supported by business justifications that generate

procompetitive benefits sufficient to outweigh any purported harm to competition.

       110.    MADAs improve search quality and output by enabling the production of high-

quality, low-cost smartphones that allow consumers to conduct more searches from mobile

devices. The evidence shows Android smartphones are available at lower price points because

MADAs allow OEMs to obtain a royalty-free license to Google’s valuable proprietary

applications and APIs. Without this barter arrangement, Google would charge OEMs a fee to

license its proprietary software, which is costly to build and maintain. FOF ¶¶ 869-78, 886-88,

1709-14; see Qualcomm, 969 F.3d at 989 (explaining how a “unique business model” that “relies

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on” a form of contractual restriction “ultimately benefited consumers by ‘increasing the quality

and quantity of … transactions,’” such that “what appeared at first to be anticompetitive … was

actually procompetitive and innovative”).

       111.    MADAs also improve search quality and output by making it easy for users to

search the web using the high-quality applications that consumers demand, as evidenced by the

large and growing average number of queries conducted on Android smartphones. And MADAs

have facilitated the proliferation of APIs and an application store that make it especially easy for

developers to build and distribute search applications and widgets, and for consumers to

download and use them across Android devices. FOF ¶¶ 773-76, 1686-87, 1693, 1696-1702.

       112.    Android RSAs improve search quality and output by providing OEMs and

carriers a financial incentive to produce high quality mobile devices on which it is easier to

search the web and to make infrastructure investments that facilitate web search (e.g., high-

quality user interfaces, affordable data plans, and high-speed data networks). The payment of a

revenue share underpins this incentive because OEMs and carriers have the opportunity to earn

more money by making improvements to their devices, data plans, and wireless networks that

encourage more searching. FOF ¶¶ 1688-93, 1727-28.

       113.    The RSAs’ placement terms, including preloading the Chrome browser in the “hot

seat,” expand search output by facilitating user access to a high-quality browser and promoting

Android’s ability to compete with iOS, which further boosts search output. FOF ¶¶ 773-76, 907-

19, 1704-08.

       114.    The RSAs’ preinstallation exclusivity provisions improve search quality and

output by aligning incentives and mitigating opportunism by partners to a sufficient degree to

enable Google to provide OEMs and carriers the financial incentives to make investments that



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facilitate more searching on mobile devices. In the absence of preinstallation exclusivity,

partners could promote rivals while earning revenue share on all their Google Search volume,

thereby depriving Google of the incremental volume that the higher revenue share is designed to

promote. FOF ¶¶ 1690-92; see N. Am. Soccer League, 883 F.3d at 43 (“Eliminating free riders

can be a procompetitive advantage of alleged restraints on competition.”).

       115.    MADAs and Android RSAs, both separately and together, promote inter-brand

competition against Apple’s iOS, which expands search output. MADAs provide a full suite of

high-quality applications that consumers expect from a smartphone while allowing consumers to

easily port their applications across Android devices. And RSAs give elevated promotion to best-

in-class services and applications (such as Google Search and Chrome) that users demand and

thereby enhance Android device competition with Apple devices. The evidence shows that this

consistent, high-quality user experience facilitates competition between Android and iOS, which

includes increasing search quality and output by driving improvements that are central to

searching on mobile devices, such as the proliferation of search widgets and larger screens. FOF

¶¶ 887-902, 907-19, 1694-1715; see Leegin, 551 U.S. at 890 (recognizing defendant’s

justification that the challenged contractual restraints “can stimulate interbrand competition—the

competition among manufacturers selling different brands of the same type of product”).

       116.    Procompetitive benefits that accrue in highly complementary markets should be

considered in addition to the aforementioned benefits in Plaintiffs’ alleged markets. Mobile

devices and mobile platforms, like browsers, are highly complementary in relation to search, and

the challenged agreements produce benefits to competition in the economic sense. FOF ¶¶ 1694-

95; see supra ¶¶ 93-94.




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               5.      Plaintiffs have not identified a valid substantially less restrictive
                       alternative.

       117.    Plaintiffs have not identified a substantially less restrictive alternative for

achieving the MADA’s procompetitive benefits. Breaking up the collection of applications

included in the MADA is not a valid less restrictive alternative because MADA signatories want

to pre-install the Google search widget and Chrome, and have continued doing so in Europe after

being given the option to license the Play Store and other applications separately. Unbundling

would not enable Google to achieve the efficiency of a consistent, high-quality search

experience, and Plaintiffs have not established that the price and quality of Android devices

would remain as competitive without the royalty-free availability of proprietary Google software,

and therefore have not shown that search output and quality would continue to increase due to

the proliferation of low-cost, high-quality smartphones that enable more intensive search usage.

FOF ¶¶ 1601-09, 1709-14; see Qualcomm, 969 F.3d at 996 (concluding the FTC’s position gave

“inadequate weight to Qualcomm’s reasonable, procompetitive justification” for its allegedly

anticompetitive licensing program given that an alternative approach “would require the

company to engage in ‘multi-level licensing,’ leading to inefficiencies and less profit”).

       118.    Plaintiffs have not demonstrated that substantially all of the procompetitive

benefits of the Android RSAs could be achieved through substantially less-restrictive means, let

alone without increasing the costs of achieving those benefits. There is no evidence that the price

and quality of Android devices would remain as competitive in the U.S. or continue to improve

without the incentives that RSAs provide to OEMs and carriers. The evidence instead shows that

without the challenged terms Google would offer a lower revenue share, reducing partners’

incentives to invest in Android and the availability of low-cost, high-quality smartphones that

enable more intensive search usage. FOF ¶¶ 1689-91, 1715.


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       119.    Although Google offers carriers in the U.S. other financial incentives to promote

Android devices, these go-to-market deals are more administratively cumbersome, do not

similarly align incentives to promote search quality and output, and would not generate the same

level of overall investment in the Android ecosystem if Google could not also compete for

elevated promotion of Search on Android devices and re-invest portions of the incremental

revenue resulting from that promotion through the Android RSAs. FOF ¶¶ 1731-35; see Epic

Games, 67 F.4th at 990 (explaining that a valid less restrictive alternative “must be virtually as

effective in serving the defendant’s procompetitive purposes without significantly increased

cost” (brackets and quotations marks omitted)).

       C.      Google’s SA360 Conduct Is Not a Basis for Liability under Section 2.

               1.      The Colorado Plaintiffs’ SA360 claim fails to meet any of the
                       prerequisites for an exclusionary refusal to deal.

       120.    “As a general rule, businesses are free to choose the parties with whom they will

deal, as well as the prices, terms, and conditions of that dealing.” Pac. Bell, 555 U.S. at 448. In

particular, “as a general matter, the Sherman Act ‘does not restrict the long recognized right of

[a] trader or manufacturer engaged in an entirely private business, freely to exercise his own

independent discretion as to parties with whom he will deal.’” Trinko, 540 U.S. at 408.

“Compelling” any party, even a purported monopolist, “to share the source of their advantage …

may lessen the incentive for the monopolist, the rival, or both, to invest” and “requires antitrust

courts to act as central planners,” a “role for which they are ill suited.” Id. at 407-08.

       121.    Refusing to deal with a competitor—including a “refus[al] to deal on the rivals’

preferred terms”—constitutes exclusionary conduct only in exceptional circumstances. New York

v. Meta Platforms, Inc., 66 F.4th 288, 306 (D.C. Cir. 2023). Courts accordingly “have been very

cautious” in condemning a firm’s refusal to cooperate with rivals, Trinko, 540 U.S. at 408, and


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exceptions are “few.” Meta, 66 F.4th at 305; see Novell, 731 F.3d at 1076 (noting a bright-line

rule avoids “the risk of inducing collusion and inviting judicial central planning”).

       122.    The Colorado Plaintiffs have met none of the three threshold showings required

before analyzing a refusal to deal as potentially exclusionary conduct: (1) a unilateral termination

of a voluntary and profitable course of dealing, (2) for which the only conceivable rationale or

purpose is to sacrifice short-term benefits in order to obtain higher profits in the long run from

the exclusion of competition, (3) in order to single out a rival with respect to products that the

defendant already sells in the existing market to other similarly situated customers. Qualcomm,

969 F.3d at 993-95; see Meta, 66 F.4th at 305-06; Aerotec, 836 F.3d at 1184.

       123.    First, the Colorado Plaintiffs failed to demonstrate that Google “voluntarily

engaged in a course of dealing,” with a competitor (Microsoft) that it subsequently terminated.

Meta, 66 F.4th at 305; see Qualcomm, 969 F.3d at 993-94. There is no evidence of any prior

course of dealing that Google terminated. The evidence showed that Google historically never

implemented all Microsoft Ads features in SA360 as a matter of routine, never committed to

integrate specific features, and when Google elected to integrate Microsoft Ads features, never

agreed to do so on any specific timeline. Instead, Google’s practice was to integrate features

(whether Microsoft Advertising, Google Ads, or others) based on customer demand, technical

feasibility, and resource availability. FOF ¶¶ 1774-81, 1819-22, 1825-29, 1839, 1852-54.

       124.    Second, the Colorado Plaintiffs did not establish that Google’s “only conceivable

rationale or purpose” was “to sacrifice short-term benefits in order to obtain higher profits in the

long run from the exclusion of competition.” Qualcomm, 969 F.3d at 993 (citations omitted); see

Covad Commc’ns Co. v. Bell Atl. Corp., 398 F.3d 666, 675 (D.C. Cir. 2005); Novell, 731 F.3d at

1075 (“Put simply, the monopolist’s conduct must be irrational but for its anticompetitive



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effect.”). There is no evidence that it would have been profitable for Google to build Microsoft

auction-time bidding on Microsoft’s timetable in light of the lack of SA360 customer demand at

that time and the lack of resources available to build this feature faster. Google’s evaluation of

and decision to build these complex features over time—based on its customers’ demand and

prioritization, technical feasibility, and available resources—was not “irrational,” let alone

“irrational but for” some “anticompetitive effect.” Novell, 731 F.3d at 1075. Rival SEM tools’

varied responses to Microsoft’s demands further shows Google did not depart from rational

business conduct. FOF ¶¶ 1745-49, 1774-81, 1854-57, 1864-72, 1877-82, 1919-20.

       125.    Third, there is no evidence that Google singled out and refused to deal with a

competitor regarding “products that [it] already sells in the existing market to other similarly

situated customers.” Qualcomm, 969 F.3d at 994. Google did not single out Microsoft in its

feature building decisions, but instead treated Microsoft the same as Google treated other engines

according to Google’s usual and customary practices. FOF ¶¶ 1777-81, 1825-29, 1852-54. It is

undisputed that the Microsoft Ads features that were demanded to be built into SA360 were not

built into SA360 as of Microsoft’s November 2019 requests. FOF ¶¶ 1746, 1786-87, 1819, 1822,

1825-29, 1837-39, 1852-54, 1913.

       126.    The Colorado Plaintiffs also failed to establish that any supposed refusal to deal

on rivals’ preferred terms contributed to monopoly maintenance—that is, the refusal had a

significant “anticompetitive effect”—in the asserted relevant market, as it must before a court

can impose liability for a violation of Section 2. Microsoft, 253 F.3d at 59; see Mr. Furniture

Warehouse, Inc. v. Barclays Am./Com. Inc., 919 F.2d 1517, 1523 (11th Cir. 1990) (“It requires a

long stretch to call an individual refusal to deal ‘monopolizing’ when it does nothing to increase

the refuser’s monopoly power.”). There is no evidence that the lack of features (or delayed



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implementation of features)—for one competitor, on one of many advertising tools—materially

altered competition in any alleged relevant market, let alone in a way that harmed advertisers or

users. FOF ¶¶ 1764-69, 1887-92, 1895, 1914-20.

       a)      The Colorado Plaintiffs failed to establish the significance of SA360 as a channel

for Microsoft Ads as compared to the numerous other ways in which advertisers could place ads

on Bing search results pages, and they defined no market in which SA360 competes against other

ads channels. FOF ¶¶ 1750-56, 1886-92.

       b)      The Colorado Plaintiffs did not substantiate any alleged lost Microsoft revenue

attributable to any delayed implementation of Microsoft Ads features in SA360. Indeed, the

evidence showed that Google did an analysis in response to Microsoft’s concern over alleged

“spend shift” after SA360 integrated Google Ads auction-time bidding, and Microsoft Ads spend

slightly increased for advertisers who enabled Google Ads auction-time bidding and also had

Microsoft Ads campaigns in their portfolio. FOF ¶¶ 1893-95, 1902, 1910-11.

       c)      Alternatives to SA360 abound for advertisers interested in Microsoft’s automated

bidding feature, which Plaintiffs focused on at trial. Automated bidding for Microsoft Ads was

available on Skai’s SEM tool as of 2020, so any advertiser that prioritized this functionality

could switch or multi-home by using more than one SEM tool. Advertisers also could access

Microsoft auction-time bidding and other Microsoft Ads features through Microsoft’s native

tool. Over the period of the alleged SA360 conduct, digital advertising on numerous platforms

has grown and there is no evidence suggesting that SA360’s feature building had any adverse

impact on that growth. FOF ¶¶ 995, 1763-69, 1875, 1887-91.

       d)      Additionally, Google has integrated or is in the process of integrating the

Microsoft Ads features to which the Colorado Plaintiffs pointed. Any harm to Microsoft has



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been merely transient, and the Colorado Plaintiffs have not shown how any deprivation of ad

revenue from any delay in integrations harmed Microsoft as a competitor. Meta, 66 F.4th at 306.

Indeed, starting in late 2019, advertisers’ spending on Microsoft Ads through SA360 grew,

including in the period right after SA360 launched auction-time bidding for Google Ads. FoF ¶¶

1746-48, 1874, 1890-91, 1893-1914.

               2.     Google had business justifications for its SA360 feature development
                      decisions.

       127.    Even if Google had a legal duty to deal, Colorado Plaintiffs’ SA360 claim fails

because the record discloses ample business justifications for Google’s feature development

decisions and timeline, including lack of customer demand, concerns about technical feasibility,

and resource constraints. “[D]enial of access is never per se unlawful; legitimate business

purpose always saves the defendant.” Phillip E. Areeda, Essential Facilities: An Epithet in Need

of Limiting Principles, 58 Antitrust L.J. 841, 852 (1989); see Covad, 398 F.3d at 673; FoF ¶¶

1774-81, 1825-32, 1854-72.

       128.    Google’s development of Microsoft Ads features over time reflects decision-

making based on its understanding of SA360’s customers’ priorities, resource constraints caused

by a multi-year SA360 platform rebuild (Project Amalgam), and the technical complexity of

building the Microsoft Ads features, particularly auction-time bidding.

       a)      From 2019 until 2021, SA360’s feature roadmaps included both Google Ads and

Microsoft Ads features (and other third-party ad platform features), as well as other

infrastructure and functionality for the SA360 platform. Upon each roadmap cycle, due to

resource constraints and customer priorities, SA360 did not build all features requested by the

Google Ads or Microsoft Ads teams. FOF ¶¶ 1774-81, 1786-87, 1825. As of the time of




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Microsoft’s feature parity demands in November 2019, SA360 had not seen advertiser demand

for Microsoft Ads’ auction-time bidding functionality. FOF ¶¶ 1855-57, 1864.

       b)     In March 2020, Google advised Microsoft that it would defer a preliminary test to

determine whether it was technically feasible to build Microsoft auction-time bidding on SA360

because the resources to develop that functionality had not yet been approved, but that Google

remained open to revisiting that decision in future planning cycles based on customer demand for

the functionality. At the same time, Google told Microsoft that Google had decided to build three

other Microsoft Ads features in the then-current SA360 product roadmap cycle. FoF ¶¶ 1825-26.

       c)     Google launched four of the five features Microsoft demanded (on which

Colorado Plaintiffs focused at trial) in Google’s new SA360 platform, which was announced

publicly in February 2022. FOF ¶¶ 1782-83, 1786-87.

       d)     Google began building a Microsoft Ads auction-time bidding integration for

SA360 as it was nearing the end of this resource-intensive, multi-year SA360 platform rebuild.

That rebuild included not only four of the features Microsoft demanded, but also multiple other

new Microsoft features. FOF ¶¶ 1784-87, 1850-51, 1873.

       e)     As of the time of trial, SA360 was in the customer testing phase of its integration

of Microsoft Ads auction-time bidding. FOF ¶¶ 1748-49, 1874, 1917.

       129.   As with its integration of Google Ads auction-time bidding into SA360,

integrating Microsoft Ads’ auction-time bidding was a highly complex undertaking, which also

required Microsoft to develop related features such as fractional conversions and campaign-level

level conversion goals. FOF ¶¶ 1828-32, 1867-72, 1913. Google’s decision-making and timing

for the integration relating to Microsoft Ads features for SA360 was reasonable when compared

to the varied responses of the three other major SEM tool providers, none of which provided



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access to all Microsoft Ads features and functionality, and only one of which (Skai) completed

an integration with Microsoft auction-time bidding. FOF ¶¶ 1865-66, 1875-82, 1918-20.

       130.    Any remedy the Colorado Plaintiffs could seek would require Google to build

features on Microsoft’s preferred terms and timeline, which is not judicially administrable

because it would require the Court to “delineate the defendant’s sharing obligations,” MetroNet

Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1132-33 (9th Cir. 2004), including the parties’

“terms of dealing.” Pac. Bell, 555 U.S. at 452. The lack of an administrable remedy makes it all

the more important not to excuse Plaintiffs’ failure to meet the requirements of settled law.

Trinko, 540 U.S. at 415 (reasoning that remedial concerns, including that “[a]n antitrust court is

unlikely to be an effective day-to-day enforcer” of proposed “detailed sharing obligations,”

strongly counseled against recognizing a new duty to deal).

               3.      Google’s SA360 conduct is justified by numerous procompetitive
                       benefits in the alleged markets that stand unrebutted and outweigh
                       any asserted harm to competition.

       131.    Google’s operation of SA360 promotes competition among search engines by

offering advertisers one of many ways to purchase search ads from multiple platforms, including

Microsoft Ads. FOF ¶¶ 1750-56, 1770. To compete effectively, Google must make business

judgments about which features it will invest in developing. Punishing Google’s conduct would

diminish its incentive to improve its cross-platform tool in response to advertiser demand—a key

factor in deciding which features Google develops for SA360—while discouraging rivals from

innovating because they can instead force Google to integrate their features on their proposed

terms. FOF ¶¶ 1775-81; see Novell, 731 F.3d at 1073.




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